Case 3:20-cv-02345-WHO Document 236-3 Filed 03/31/21 Page 1 of 2




 EXHIBIT 14
          Case 3:20-cv-02345-WHO Document 236-3 Filed 03/31/21 Page 2 of 2




13 lines (13 sloc)    590 Bytes

  1   <label for="accepted-tos" class="text--small signin__legal-text">
  2     <input type="checkbox" id="accepted-tos"/>
  3     <%= juul_t('page.shared.login.by_registering_with',
  4                  url: current_store.tos_url, #We leave this to support old translaions until t
  5                  tos_url: current_store.tos_url,
  6                  privacy_url: t('site.urls.privacy')) %>
  7   </label>
  8   <div id="accepted-tos-warning" class="invalid-feedback hide">
  9     <%= juul_t('page.shared.login.accepted_tos_warning') %>
 10   </div>
 11   <% content_for :javascript do %>
 12     <%= javascript_pack_tag 'accept_tos' %>
 13   <% end %>
